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 6    Attorney for Petitioner
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 9
                      IN THE UNITED STATES DISTRICT COURT
10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12
          VERONICA MCCLUSKEY                   CASE No. 2:19-cv-09613-CAS-PJW
13
             Petitioner                        DECLARATION OF MICHAEL
14
                                               MOGAN AND EXHIBITS
15              v.
16
          AIRBNB INC.
17
      `                                        [Filed concurrently with Petitioner’s
18                                              Notice Of Motion And Motion To
            Respondent                          Vacate Arbitration Award And
19
                                                Declaration Of Veronica McCluskey]
20

21
                                               Date: December 16, 2019
                                               Time: 10:00 AM
22                                             Courtroom: 8D
23                                             Hon. Christina A. Snyder
24

25

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27

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                              DECLARATION OF MICHAEL MOGAN
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Case 2:19-cv-09613-PA-PJW Document 10 Filed 11/12/19 Page 3 of 6 Page ID #:102
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Case 2:19-cv-09613-PA-PJW Document 10 Filed 11/12/19 Page 5 of 6 Page ID #:104
     Case 2:19-cv-09613-PA-PJW Document 10 Filed 11/12/19 Page 6 of 6 Page ID #:105



 1       38. Attached as" Exhibit C-7" is a true and accurate copy of Airbnb's
 2          Supplemental Reply ISO Motion for Summary Judgment
 3       39. Attached as" Exhibit D-1" is a true and accurate copy of the Complaint File
 4          in California Superior Court in January 2018.
 5       40. Attached as" Exhibit E" is a true and accurate copy of the pertinent pages of
 6          the AAA Rules.
 7       41. Attached as" Exhibit F" is a true and accurate copy of the letter indicating
 8          selection of Alan Jampol as arbitrator.
 9       42. Attached as" Exhibit G" is a true and accurate of the oath Alan Jampaigreed
10          to.
11       43. Attached as" Exhibit H'' is a true and accurate of Petitoner's demand for
12          arbitration.
13       44. Petitioner's lost profits exceeded $10,000 between June 2017 and January
14          2018. She had to start over using an account with no positive reviews and
15          had to seek new customers.
16

17    November 10, 2019
18

19                                                  /s/ Michael Mogan
20                                                    Michael Mogan
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                                 DECLARATION OF MICHAEL MOGAN
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